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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN THE MATTER OF THE                         §
ARREST OF:                                   §
Eladio GONZALEZ                              §   MAGISTRATE NO.
                                             §

                    AFFIDAVIT IN SUPPORT OF COMPLAINT


       I, Dominic Rosamilia, Affiant, having been duly sworn, do hereby state the

following:

A. Introduction and Agent Background:

       1.     I am an investigative or law enforcement officer within the meaning of

Section 2510(7) of Title 18, United States Code, that is an officer of the United States who

is empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Section 2516 of Title 18, United States Code.

       2.     I am a Special Agent (SA) of the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), United States Department of Justice, and have been so employed since

April of 2009. I graduated from the Federal Law Enforcement Training Center and the ATF

National Academy in Glynco, Georgia. I am presently a member of Houston Group II of

the ATF. As a Special Agent of the ATF, my duties and responsibilities include conducting

criminal investigations of individuals and entities for possible violations of federal laws,

particularly those laws found in Titles 18 and 26 of the United States Code. I have received

additional law enforcement training at Chesterfield County Police Department. I was

employed by Chesterfield County Police for thirteen years. While at Chesterfield County

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Police Department I attained the rank of sergeant, and was assigned to investigations, vice

and narcotics, community policing, and patrol. I have instructed several topics throughout

the state of Virginia to include Search and Seizure, and Basic Law. I have requested and

executed over 100 search warrants. I am a graduate of the State University of New York

at Buffalo with a bachelor degree in Health and Human Services.

       3.     My current assignment with Houston Group II, involves the investigation of

individuals who traffic firearms, violent criminals, and criminal organizations such as street

gangs and drug trafficking organizations. I have used cooperating informants, undercover

agents, pen register/trap and trace devices, video surveillance, wiretaps, GPS tracking

devices, and audio surveillance, among other law enforcement techniques, in the course of

my career with ATF. As a sworn officer your Affiant is authorized to investigate violations

of laws of the United States, and is a law enforcement officer with the authority to execute

warrants issued under the authority of the United States.

       4.     The facts contained in this affidavit are based upon information provided to

me by other law enforcement officers, other witnesses, and my own personal knowledge.

Since this affidavit is made for the limited purpose of supporting a Criminal Complaint, I

have not set forth each and every fact learned during the course of the investigation. Rather,

I have set forth only those facts that I believe are necessary to establish probable cause for

the crimes charged. Unless otherwise indicated, where actions, conversations, and

statements of others are related herein, they are related in substance and in part only.

       5.     This affidavit is being submitted in support of a criminal complaint and arrest

warrant. Your Affiant states that there is probable cause to believe that Eladio GONZALEZ

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has committed the offense of Possession of a machinegun, as the term “machinegun” is

defined in Title 26, United States Code, § 5845(b), to wit: any weapon which shoots, is

designed to shoot, or can be readily restored to shoot, automatically more than one shot,

without manual reloading, by a single function of the trigger, and the frame or receiver of

any such weapon, any part designed and intended solely and exclusively, or combination

of parts designed and intended, for use in converting a weapon into a machinegun, and any

combination of parts from which a machinegun can be assembled if such parts are in the

possession or under the control of a person, in violation of Title 18, United States Code, §

922(o).

       B. Facts Supporting Probable Cause:

       6.     A “Glock switch” is an independently manufactured and sold part which can

be easily attached to any Glock handgun, thereby converting the semi-automatic handgun

into a fully automatic machinegun.

       7.     On November 12, 2020, Texas DPS conducted a traffic stop on a silver 2010

Buick, bearing Texas license plate KJG4996, registered to Eladio GONZALEZ. The traffic

stop occurred at Interstate 59 and Bellaire Boulevard in Houston, Texas. The lone occupant

of the vehicle was the registered owner of the vehicle, Eladio GONZALEZ. After checking

GONZALEZ’ driver’s license to check for any outstanding warrants, the trooper

discovered that GONZALEZ did have several outstanding traffic warrants. The DPS

trooper took GONZALEZ into custody and then conducted an inventory search of the

vehicle prior to having it towed. In an after market trap between the two front seats, the

DPS trooper found a plastic bag containing 20 Glock switches.

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